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                                          November 15, 2021
Honorable Lorna G. Schofield
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

Re: The Secretary of the U.S. Department of Housing and Urban Development, and agency of the United States of
America v. Public Administrator of Bronx County, as Limited Administrator d.b.n. of the Estate of Mildred Smith,
deceased; et al.
Case No. 1:21-cv-06348-LGS

Dear Judge Schofield,

         I am counsel for the plaintiff The Secretary of the U.S. Department of Housing and Urban Development,
and agency of the United States of America (“HUD”). I respectfully request an extension of time to file HUD’s
order to show cause for a default judgment.

        HUD’s motion is ready for filing. The reason for the request is I am waiting for an updated affidavit and
itemized statement of damages from HUD in support of the motion. Plaintiff respectfully requests an
extension to December 3, 2021 to file for a default judgment.


                                                Respectfully Submitted,

                                                                             Application GRANTED. Plaintiff's deadline to file
                                                /s/                          the Proposed Order to Show Cause for Default
                                                                             Judgment and related papers is extended to
                                                John Manfredi                December 3, 2021. The conference scheduled for
                                                                             November 18, 2021, is CANCELLED.

                                                                             So Ordered.

                                                                             Dated: November 15, 2021
                                                                                    New York, New York
